Docket Entries Results                                                      Page 1 of 1
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                     1522-AC02216 - GABRIEL PERAZA V ALLIANCEONE RECEIVABLES
                                        MANAGEMEN (E-CASE)


                               This information is provided as a service and is not considered an official court record.
                                                 Sort Date Entries:          Descending                  Display Options: All Entries
                                                                          Ascending


03/17/2015           Motion for Continuance
                     Plaintiff s Motion for Continuance.
                        Filed By: RICHARD ANTHONY VOYTAS
                        On Behalf Of: GABRIEL PERAZA

02/27/2015           Notice of Service
                     Affidavit of Service.
                         Filed By: RICHARD ANTHONY VOYTAS
                         On Behalf Of: GABRIEL PERAZA
                     Corporation Served
                     Document ID - 15-ADSM-1511; Served To - ALLIANCEONE RECEIVABLES MANAGEMENT, INC.;
                     Server - ; Served Date - 24-FEB-15; Served Time - 12:42:00; Service Type - Special Process Server;
                     Reason Description - Served

02/20/2015           Summons Issued-Associate
                     Document ID: 15-ADSM-1511, for ALLIANCEONE RECEIVABLES MANAGEMENT, INC..

02/19/2015           Hearing Scheduled
                       Scheduled For: 03/19/2015; 9:30 AM ; BARBARA PEEBLES; City of St. Louis
                     Filing Info Sheet eFiling
                         Filed By: RICHARD ANTHONY VOYTAS
                     Motion Special Process Server
                     Plaintiff s Request for Appointment of Special Process Server.
                         Filed By: RICHARD ANTHONY VOYTAS
                         On Behalf Of: GABRIEL PERAZA
                     Pet Filed in Associate Ct
                     Petition.
                        Filed By: RICHARD ANTHONY VOYTAS
                     Judge Assigned
Case.net Version 5.13.7.0                                        Return to Top of Page                                     Released 01/07/2015




                                                                                                                              EXHIBIT A
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                           3/22/2015
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              IN THE 22ND JUDICIAL CIRCUIT COURT OF CITY OF ST LOUIS, MISSOURI
 Judge or Division:                                                   Case Number: 1522-ACO2216
 BARBARA PEEBLES
 Plaintiff/Petitioner:                                                Plaintiffs/Petitioner's Attorney/Address:
 GABRIEL PERAZA                                                       RICHARD ANTHONY VOYTAS
                                                                      1 NORTH TAYLOR
                                                                vs.   ST LOUIS, MO 63108
 Defendant/Respondent:                                                Date, Time and Location of Court Appearance:
 ALLIANCEONE RECEIVABLES                                              19-MAR-2015, 09:30 AM
 MANAGEMENT, INC.                                                     Division 27
 Nature of Suit:                                                      CIVIL COURTS BUILDING
 AC Other Tort                                                        10 N TUCKER BLVD
                                                                      SAINT LOUIS, MO 63101                                           (Date File Stamp)
                                                           Associate Division Summons
   The State of Missouri to: ALLIANCE ONE RECEIVABLES MANAGEMENT, INC.
                             Alias:
 CT CORPORATION SYSTEM
 120 SOUTH CENTRAL AVENUE                                                                                           SPECIALS
 CLAYTON, MO 63105
                                      You are summoned to appear before this court on the date, time, and location above to answer the attached petition.
                                 If you fail to do so, judgment by default will be taken against you for the relief demanded in the petition. you may be
                                 permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have any questions regarding
      COURT SEAL OF
                                 responsive pleadings in this case, you should consult an attorney.
          •                           If you have a disability requiring special assistance for your court appearance, please contact the court at least 48
          ,
                                 hours in advance of scheduled hearing.                                              ..

               -                       FEBRUARY 20, 2015
     CITY OF ST LOUIS                                    Date
                                                                                                    Thomas Kloeppinger
                                                                                                     Circuit Clerk
                                  Further Information:
                                                            Sheriff's or Server's Return
   Note to serving officer: Service must not be made less than ten days nor more than thirty days from the date the Defendant/Respondent is to
                               appear in court.
      I certify that I have served the above summons by: (check one)
    . 0 delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      0 leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                     a person of the Defendant's/Respondent's family over the age of 15 years.
       II (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                (name )                                                              (title).
      E     other                                                                                                                                         .
    Served at                                                                                                                                   (address)
    in                                          (County/City of St. Louis), MO, on                          "   (date) at                        (time).

                       Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                     Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on                                                    (date).
              (Seal)
                                    My commission expires:
                                                                       Date                                     Notary Public
     Sheriff's Fees, if applicable
     Summons        $
     Non Est        $
     Mileage        $                 (       miles @ $ .          per
     mile)
     Total          $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of suits,
     see Supreme Court Rule .54.




OSCA (7-99) SM20 (ADSM) For Court Use Only: Document 1D# 1S-ADSM-1511                    1 of 1                                                 517.041 RSMo
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                       IN THE CIRCUIT COURT OF SAINT LOUIS CITY
                                  STATE OF MISSOURI
                                  ASSOCIATE DIVISION

GABRIEL PERAZA,

       Plaintiff,
                                                                  Cause No.
V.
                                                                  Division
ALLIANCEONE RECEIVABLES
MANAGEMENT, INC.,

Serve at:
CT Corporation System
120 South Central Avenue
Clayton, Missouri 63105
                                                                  JURY TRIAL DEMANDED
       Defendant.

                                               PETITION

       COMES NOW, Plaintiff, Gabriel Peraza ("Plaintiff'), and for his Petition for Damages

states as follows:

                                           INTRODUCTION

        1.     This is an action for statutory and actual damages brought by an individual

consumer for violations of the Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692

et seq. which prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

       2.         Plaintiff demands a trial by jury on all issues so triable.

                                    JURISDICTION AND VENUE

       3.      This Court has jurisdiction of the FDCPA claims under 15 USC 1692k(d). Venue

is appropriate in this Court because Defendant directed its illicit conduct at Plaintiff in St. Louis

City, Missouri.




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                                             PARTIES

       4.       Plaintiff is a natural person currently residing in St. Louis City, Missouri.

Plaintiff is a "consumer" within the meaning of the FDCPA. The alleged debt Plaintiff owes

arises out of consumer, family, and household transactions. To the best of Plaintiffs

recollection, the alleged debt arises out of a personal Firestone credit card.

        5.      Defendant AllianceOne Receivables Management, Inc. ("Defendant") is a foreign

corporation with its principal place of business Trevose, Pennsylvania.

       6.       The principal business purpose of Defendant is the collection of debts in Missouri

and nationwide, and Defendant regularly attempts to collect debts alleged to be due another.

        7.      Defendant is engaged in the collection of debts from consumers using the mail

and telephone. Defendant is a "debt collector" as defined by the FDCPA. 15 USC § 1692a(6).

                                              FACTS

        8.      Defendant's collection activity of which Plaintiff complains occurred within the

previous twelve (12) months.

        9.      Defendant's collection efforts consisted of a collection letter and multiple

telephone calls to Plaintiff's place of employment.

        10.     On December 16, 2014, Defendant mailed Plaintiff a collection letter wherein it

demanded payment for $1,122.47.

        11.     To the best of his recollection, Plaintiff received the letter within about a week of

its printed date.

        12.     Defendant's collection letter informed Plaintiff that he had thirty (30) days from

receipt of the letter to verify the validity of the debt itself and the amount Defendant demanded

thereon.




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        13.    At all times relevant to this action, Defendant has had a valid address and

telephone number for Plaintiff.

        14.    Defendant has never had any mail returned undeliverable that it has sent to

Plaintiffs residence address.

        15.    As of December 2014, Defendant had no reason to believe that it did not possess

Plaintiffs valid contact information and thus possessed no reason to contact third parties

regarding Plaintiff's alleged debt in order to obtain such contact information.

        16.    Notwithstanding, in late-December of 2014, Defendant began calling Plaintiffs

co-worker at Plaintiffs place of employment.

        17.    Prior to these calls, Plaintiff never provided his consent directly to the Defendant

for Defendant to contact his place of employment in connection with the alleged Firestone credit

debt.

        18.    Plaintiff does not possess a personal phone line at work, and it is wholly irregular

for him to receive any phone calls at his place of employment.

        19.    Defendant called Plaintiff's place of employment and spoke personally to

Plaintiff's co-worker on more than one occasion in connection with Plaintiff's alleged debt.

        20.    Defendant's agent provided his name and number to Plaintiffs co-worker and

asked the co-worker to convey the message to Plaintiff.

        21.    After having received multiple calls at his work, Plaintiff called the phone number

that Defendant provided to Plaintiffs co-worker.

        22.    This initial phone call occurred in late-December, 2014.

        23.    At the time of this first phone conversation, Plaintiffs thirty (30) day period in

which to exercise his rights pursuant to 15 U.S.C. § 1692g was in full force and effect.




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       24.     During the call, Defendant attempted to set up a payment plan with Plaintiff

within his dispute and verification period.

       25.     Specifically, Defendant tried to coerce Plaintiff into agreeing to pay a reduced

settlement amount of $800, payable in four installments.

       26.     As an unsophisticated consumer, Plaintiff did not understand that he maintained

his dispute rights if he agreed to a payment plan during the dispute period.

       27.     Nevertheless, Defendant never communicated to Plaintiff the he still possessed

his dispute rights even though Defendant was actively attempting to finalize a payment plan

within his dispute period.

       28.     After the late-December 2014 phone conversation, Plaintiff hired an attorney,

Scott Brinkman, to represent him on the alleged Firestone debt.

       29.     Accordingly, Plaintiff called to inform Defendant that he had hired an attorney

and to further request that he no longer be contacted at his place of employment.

       30.     This second phone conversation occurred on January 19, 2015.

       31.     While Plaintiff's collection letter was dated and presumably sent on December 16,

2014, Plaintiff called Defendant as instructed within 30 days of receiving the letter.

       32.     At the time of this second phone conversation, Plaintiff's thirty (30) day period in

which to exercise his rights pursuant to 15 U.S.C. § 1692g was in full force and effect.

       33.     At the very outset of the call, after verifying Plaintiff's identity, Defendant

immediately demanded to know if Plaintiff possessed a Visa or MasterCard with which to pay

off the debt "today".




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       34.       In response, Plaintiff informed the Defendant that he could not afford to pay the

debt and requested to know why Defendant was calling his place of employment in connection

with the debt.

       35.       Defendant, presumably realizing that it was an unlawful collection activity,

denied ever having called Plaintiff's place of employment.

       36.       This was a lie and Defendant knew it.

       37.       Instead of providing Plaintiff accurate information, Defendant chose to, once

again, obtain a payment on the alleged debt within Plaintiff's dispute period.

       38.       In the process of Plaintiff's attempt to make sure Defendant no longer contacted

his employer, Defendant interjected and demanded to know if Plaintiff was "going to pay off the

debt today" even though Plaintiff had already informed Defendant mere moments before that he

could not afford to pay the debt.

       39.       Defendant's repeated attempts in the phone call for Plaintiff to pay off the debt

"today" overshadowed Plaintiff's dispute, validation, and verification rights as provided in 15

U.S.C. § 1692g.

       40.       Defendant's above-described conduct caused Plaintiff to believe that he could not

exercise his dispute rights or that such an exercise would not be honored.

       41.       Plaintiff never agreed to arbitrate any disputes with Defendant.

       42.       Defendant's conduct has caused Plaintiff to suffer actual damages including but

not limited to embarrassment, anxiety and worry.

                           COUNT I: VIOLATIONS OF THE FDCPA

       43.       Plaintiff re-alleges and incorporates by reference all of the above paragraphs.




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       44.     In its attempt to collect the alleged debt through Plaintiff, Defendant has

committed violations of the FDCPA, 15 U.S.C. 1692 et, seq., including, but not limited to, the

following:

               a.     Overshadowing Plaintiff's dispute, validation, and verification rights. 15

                      U.S.0 § 1692g(b);

               b.     Communicating with a third party, in connection with the alleged debt,

                      without the prior consent of Plaintiff. 15 U.S.C. § 1692c(b);

               c.      In the alternative, if Defendant was contacting Plaintiffs employer in

                      order to obtain Plaintiff's contact information even though it had no

                       reason to do so, Defendant unlawfully communicated with a third party

                       more than once for such a purpose. 15 U.S.C. § 1692b(3);

               d.      Asking a third party to convey a message in connection with a debt to the

                       consumer. 15 U.S.C. § 1692b; and

               e.      Engaging in misleading, deceptive, harassing, and unfair collection tactics,

                       including contacting a consumer's employer and then lying to the

                       consumer to cover-up that fact. 15 U.S.C. § 1692d-f.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against

Defendant and in favor of Plaintiff for:

       A.      Judgment that Defendant's conduct violated the FDCPA;

       B.      Actual damages;

       C.      Statutory damages, costs, and reasonable attorney's fees pursuant to 15 USC §

               1692(k); and

       D.      For such other relief as the Court may deem just and proper.




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                                  VOYTAS & COMPANY

                                  /s/ Richard A. Voytas, Jr.

                                  RICHARD A. VOYTAS, JR. #52046
                                  ALEXANDER J. CORN WELL, #64793
                                  VOYTAS & COMPANY
                                  I North Taylor Avenue
                                  St. Louis, Missouri 63108
                                  Phone: (314) 932-1068




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